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             EXHIBIT 6
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                     Chart of Devor Exhibit A NDCs Listed on, or Omitted from, Exhibit B‐24

                                                                  Ex. B‐24: Merck NDCs at Ex. B‐24: Merck NDCs at
NDCs from Devor Exhibit A        Drugs from Devor Exhibit A        Issue With Spreads of       Issue Between        Not on Ex. B‐24
                                                                       30% and Above            25% and 30%
    00006074528             HYZAAR 100‐12.5 TABLET                                                                        X
    00006074531             HYZAAR 100‐12.5 TABLET                                                                        X
    00006074554             HYZAAR 100‐12.5 TABLET                                                                        X
    00006026609             MAXALT 5 MG TABLET                                                                            X
    00006355348             PEPCID RPD 20MG TABLET                                                                        X
    00006355431             PEPCID RPD 40MG TABLET                                                                        X
    00006010686             PRINIVIL 10MG TABLET                                                                          X
    00006001986             PRINIVIL 5MG TABLET                                                                           X
    00006071287             VASOTEC 5MG TABLET                                                                            X
    00006096058             COZAAR 100MG TABLET                             X
    00006095154             COZAAR 25MG TABLET                              X
    00006095158             COZAAR 25MG TABLET                              X
    00006095182             COZAAR 25MG TABLET                              X
    00006095258             COZAAR 50MG TABLET                              X
    00006095282             COZAAR 50MG TABLET                              X
    00006057143             CRIXIVAN 200MG CAPSULE                          X
    00006057465             CRIXIVAN 333MG CAPSULE                          X
    00006057318             CRIXIVAN 400MG CAPSULE                          X
    00006057340             CRIXIVAN 400MG CAPSULE                          X
    00006057354             CRIXIVAN 400MG CAPSULE                          X
    00006057362             CRIXIVAN 400MG CAPSULE                          X
    00006093628             FOSAMAX 10MG TABLET                             X
    00006093682             FOSAMAX 10MG TABLET                             X
    00006021231             FOSAMAX 40MG TABLET                             X
    00006074782             HYZAAR 100‐25 TABLET                            X
    00006071758             HYZAAR 50‐12.5 TABLET                           X
    00006071782             HYZAAR 50‐12.5 TABLET                           X
    00006073061             MEVACOR 10MG TABLET                             X
    00006073182             MEVACOR 20MG TABLET                             X
    00006073261             MEVACOR 40MG TABLET                             X
    00006073282             MEVACOR 40MG TABLET                             X
    00006353904             PEPCID 10MG/ML VIAL                             X
    00006354114             PEPCID 10MG/ML VIAL                             X
    00006354120             PEPCID 10MG/ML VIAL                             X
    00006354149             PEPCID 10MG/ML VIAL                             X
    00006353750             PEPCID 20MG PIGGYBACK                           X
    00006010631             PRINIVIL 10MG TABLET                            X
    00006010654             PRINIVIL 10MG TABLET                            X
    00006010682             PRINIVIL 10MG TABLET                            X
    00006001558             PRINIVIL 2.5MG TABLET                           X
    00006020731             PRINIVIL 20MG TABLET                            X
    00006020782             PRINIVIL 20MG TABLET                            X
    00006023758             PRINIVIL 40MG TABLET                            X
    00006001958             PRINIVIL 5MG TABLET                             X
    00006001982             PRINIVIL 5MG TABLET                             X
    00006378464             VIOXX 12.5MG/5ML ORAL SUSP                      X
    00006011031             VIOXX 25MG TABLET                               X
    00006378564             VIOXX 25MG/5ML ORAL SUSP                        X
    00006011474             VIOXX 50MG TABLET                               X
    00006073528             ZOCOR 10MG TABLET                               X
    00006073531             ZOCOR 10MG TABLET                               X


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                     Chart of Devor Exhibit A NDCs Listed on, or Omitted from, Exhibit B‐24

                                                                  Ex. B‐24: Merck NDCs at Ex. B‐24: Merck NDCs at
NDCs from Devor Exhibit A        Drugs from Devor Exhibit A        Issue With Spreads of       Issue Between        Not on Ex. B‐24
                                                                       30% and Above            25% and 30%
    00006073554             ZOCOR 10MG TABLET                               X
    00006073561             ZOCOR 10MG TABLET                               X
    00006073582             ZOCOR 10MG TABLET                               X
    00006074031             ZOCOR 20MG TABLET                               X
    00006074054             ZOCOR 20MG TABLET                               X
    00006074061             ZOCOR 20MG TABLET                               X
    00006074082             ZOCOR 20MG TABLET                               X
    00006074931             ZOCOR 40MG TABLET                               X
    00006074954             ZOCOR 40MG TABLET                               X
    00006074982             ZOCOR 40MG TABLET                               X
    00006072631             ZOCOR 5MG TABLET                                X
    00006072654             ZOCOR 5MG TABLET                                X
    00006072682             ZOCOR 5MG TABLET                                X
    00006054331             ZOCOR 80MG TABLET                               X
    00006054354             ZOCOR 80MG TABLET                               X
    00006054382             ZOCOR 80MG TABLET                               X
    00006362835             COSOPT EYE DROPS                                                        X
    00006362836             COSOPT EYE DROPS                                                        X
    00006096031             COZAAR 100MG TABLET                                                     X
    00006096054             COZAAR 100MG TABLET                                                     X
    00006096082             COZAAR 100MG TABLET                                                     X
    00006095231             COZAAR 50MG TABLET                                                      X
    00006095254             COZAAR 50MG TABLET                                                      X
    00006093631             FOSAMAX 10MG TABLET                                                     X
    00006093658             FOSAMAX 10MG TABLET                                                     X
    00006007721             FOSAMAX 35MG TABLET                                                     X
    00006007744             FOSAMAX 35MG TABLET                                                     X
    00006092531             FOSAMAX 5MG TABLET                                                      X
    00006092558             FOSAMAX 5MG TABLET                                                      X
    00006003144             FOSAMAX 70MG TABLET                                                     X
    00006074731             HYZAAR 100‐25 TABLET                                                    X
    00006074754             HYZAAR 100‐25 TABLET                                                    X
    00006074758             HYZAAR 100‐25 TABLET                                                    X
    00006071731             HYZAAR 50‐12.5 TABLET                                                   X
    00006071754             HYZAAR 50‐12.5 TABLET                                                   X
    00006026706             MAXALT 10 MG TABLET                                                     X
    00006026709             MAXALT 10 MG TABLET                                                     X
    00006026606             MAXALT 5 MG TABLET                                                      X
    00006073161             MEVACOR 20MG TABLET                                                     X
    00006096331             PEPCID 20MG TABLET                                                      X
    00006096358             PEPCID 20MG TABLET                                                      X
    00006096382             PEPCID 20MG TABLET                                                      X
    00006096431             PEPCID 40M6 TABLET                                                      X
    00006096458             PEPCID 40M6 TABLET                                                      X
    00006096482             PEPCID 40M6 TABLET                                                      X
    00006353892             PEPCID 40MG/5ML ORAL SUSP                                               X
    00006355331             PEPCID RPD 20MG TABLET                                                  X
    00006010658             PRINIVIL 10MG TABLET                                                    X
    00006010687             PRINIVIL 10MG TABLET                                                    X
    00006001531             PRINIVIL 2.5MG TABLET                                                   X
    00006020754             PRINIVIL 20MG TABLET                                                    X


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                     Chart of Devor Exhibit A NDCs Listed on, or Omitted from, Exhibit B‐24

                                                                  Ex. B‐24: Merck NDCs at Ex. B‐24: Merck NDCs at
NDCs from Devor Exhibit A        Drugs from Devor Exhibit A        Issue With Spreads of       Issue Between        Not on Ex. B‐24
                                                                       30% and Above            25% and 30%
    00006020758             PRINIVIL 20MG TABLET                                                    X
    00006020787             PRINIVIL 20MG TABLET                                                    X
    00006001954             PRINIVIL 5MG TABLET                                                     X
    00006001987             PRINIVIL 5MG TABLET                                                     X
    00006007231             PROSCAR 5MG TABLET                                                      X
    00006007258             PROSCAR 5MG TABLET                                                      X
    00006007282             PROSCAR 5MG TABLET                                                      X
    00006011731             SINGULAIR 10 MG TABLET                                                  X
    00006011754             SINGULAIR 10 MG TABLET                                                  X
    00006351935             TRUSOPT 2% EYE DROPS                                                    X
    00006351936             TRUSOPT 2% EYE DROPS                                                    X
    00006071368             VASOTEC 10MG TABLET                                                     X
    00006071382             VASOTEC 10MG TABLET                                                     X
    00006001468             VASOTEC 2.5MG TABLET                                                    X
    00006071468             VASOTEC 20MG TABLET                                                     X
    00006071482             VASOTEC 20MG TABLET                                                     X
    00006071268             VASOTEC 5MG TABLET                                                      X
    00006071282             VASOTEC 5MG TABLET                                                      X
    00006007431             VIOXX 12.5MG TABLET                                                     X
    00006007468             VIOXX 12.5MG TABLET                                                     X
    00006007482             VIOXX 12.5MG TABLET                                                     X
    00006011068             VIOXX 25MG TABLET                                                       X
    00006011082             VIOXX 25MG TABLET                                                       X
    00006011431             VIOXX 50MG TABLET                                                       X
    00006011468             VIOXX 50MG TABLET                                                       X
    00006074961             ZOCOR 40MG TABLET                                                       X
    00006072661             ZOCOR 5 MG TABLET                                                       X
    00006054361             ZOCOR 80MG TABLET                                                       X




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